Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 1 of 42




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Case No.:

CRAIG FAULHABER,

and those similarly situated,

Plaintiff,

vs.


PETZL AMERICA, INC. D/B/A PETZL

Defendant.

_____________________________________________________________________________

                       COMPLAINT AND JURY DEMAND
_____________________________________________________________________________

        COMES NOW Plaintiff, Craig Faulhaber through legal counsel McLeod │Brunger           PLLC,


and hereby submits his Complaint and Jury Demand on behalf of himself and those similarly

situated (“Plaintiff” or “Faulhaber”) against Defendant, Petzl America, Inc. d/b/a Petzl, and in

support thereof, alleges as follows:

                                       I.   INTRODUCTION

        1.     This case arises from the defective design, manufacture, and failure to warn that

the Petzl Shunt, a device intended, marketed and sold by Petzl as a safety device, could detach

from a climbing rope and cause death or serious bodily injury, as experienced by Plaintiff Craig

Faulhaber within the state of Colorado.




                                                1
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 2 of 42




        2.     Craig Faulhaber hit the ground, suffered serious bodily injuries, and could have

died but for the heroic efforts of witnesses and Summit County Mountain Rescue for only one

reason – his Petzl Shunt failed him.

        3.     Following Plaintiff’s injuries sustained after his Petzl Shunt failed near Keystone

in Summit County, Colorado, Faulhaber contacted Petzl via email to info@petzl.com on October

30, 2021 to alert them to his event and to attempt to get Petzl to act in order to warn other climbers,

pull the product from the market, or re-design and manufacture a safer device.

        4.     Faulhaber also had a subsequent email exchange and a telephone call with Petzl’s

Utah-based Chief Operating Officer Tom Adams on November 10, 2021 who was opaque about

the Shunt’s testing, known use, and deficiencies on the phone, otherwise being dismissive of

Faulhaber’s request for a prominent and unambiguous warning or a re-design of the Shunt.

        5.     Petzl’s Chief Operating Offer Tom Adams also rejected or ignored Craig

Faulhaber’s offer to participate in the crafting of a suitable warning so other people are not injured

or killed.

        6.     Faulhaber unambiguously informed Petzl’s Chief Operating Officer that not only

was the Shunt a very popular setup in the top rope solo community, but also that the climbing

community seems to use the Petzl Shunt for this as its primary purpose.

        7.     Faulhaber advised Petzl’s Chief Operating Offer that the climbing community

believes that a stopper knot is a viable backup to the Petzl Shunt while rope soloing, which

Faulhaber knows today that it is not, since it appears that Faulhaber’s Petzl Shunt allowed his rope

to detach from the Shunt before the Shunt even hit Faulhaber’s stopper knot.



                                                  2
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 3 of 42




       8.      Faulhaber also told Petzl’s Chief Operating Officer that he uncovered a study from

the Health and Safety Executive (HSE), which Petzl never informed, let alone warned, the

climbing community about, specifically, HSE advised:

               The third concern is over the Shunt’s relatively weak body strength. The
               Shunt is designed to slip when overloaded and can be used on double or
               single ropes. The slipping function negates the need for a strong body, as
               high forces should be impossible to reach. However, if the Shunt is loaded
               when it is only a short distance above a knot on the rope, it will be prevented
               from slipping by the knot and high forces could be achieved. This situation
               is possible in rope access, and could result in the Shunt releasing the
               rope at forces as low as 4 kN. The problem is exacerbated when the device
               is used on a single rope, as would be the case in rope access. 1

       9.      Petzl’s executive representative Tom Adams indicated to Faulhaber on the phone

that it would take his concerns back to the “design team,” that they take it “really serious”, that

“people’s safety is really important”, and admitted that he and Petzl have received and participated

in other “calls like this”, yet Petzl has done nothing to protect or warn climbers like Craig

Faulhaber.

       10.     Petzl continued to ignore its inherently dangerous Petzl Shunt when it used for is

foreseeable, express, or implied purpose without adequate warning to the climbing community and

public, including residents of Colorado and the United States which makes the events alleged

herein likely to be repeated in the future.

       11.     Importantly, and in spite of the fact that the Petzl Shunt was designed for self-belay

and rope soloing, and that it was endorsed and advertised for these purposes by Petzl for decades,



1
 “Industrial rope access – Investigation into items of personal protective equipment”, HSE
Contract Research report 364/2001 at pp. 36 (emphasis added).

                                                 3
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 4 of 42




Mr. Adams claimed that he didn’t know that climbers were using the Shunt for rope soloing, further

concealing the truth about the safety hazards associated with the climbing community’s knowledge

and foreseeable use of the product.

       12.     In fact, following Craig Faulhaber’s unsuccessful and unsatisfactory call with Petzl,

Faulhaber discovered that another Colorado-resident, Trevor Stuart, who is also an experienced

climber was seriously injured when he fell in West Virginia on November 30, 2021, while using

the Petzl Shunt with stopper knots as a backup. Stuart’s Petzl Shunt also failed allowing his safety

rope to unexpectedly detach from the Shunt causing the climber to fall from 60 feet above the

ground causing life-threatening injuries, a flight for life, and 7 days in the ICU.

       13.     This is significant because had Petzl taken timely or reasonable action after

receiving express notice in early November, 2021 of the Faulhaber event in Colorado, had it not

continued to conceal the defects in the Shunt, had it not pretended that it did not know how

consumers were actually using the product, Petzl may have been able to prevent – through a timely

recall, or adequate warnings on social media, by its influencers, its website, through its “experts”

and retailers, or a variety of other publications which Petzl influences – Trevor Stuart from falling

to his near death only a few weeks later in West Virginia.

       14.     When Faulhaber and the other climber were rescued by first responders, both

climbers were found with their Petzl Shunts still attached to them and undamaged. This is

important because it clearly indicates that both Shunts failed becoming detached from two expert-

level climbers’ safety ropes within 90-days of each other in two different states. Consequently, it

is very likely that other unwitting climbers have fallen to their death, or sustained serious bodily

injury, not because of the expected risks associated with climbing, but because Petzl refuses to

                                                  4
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 5 of 42




adequately warn the climbing community that the Shunt can become detached from a climber’s

rope or fail upon impact with a backup, such as a stopper knot.

       15.      Since his accident, and to get the word out to the climbing community about the

inherent dangers of the Petzl Shunt, Craig Faulhaber gave an interview to Climbing Magazine, a

prominent climbing magazine with distribution throughout Colorado and Untied States. Climbing

Magazine delayed publication of the article until after Petzl, a large and influential contributor to

the magazine through “sponsored content,” while waiting on Petzl’s comments on the article

before publication.

       16.      Petzl is a prominent content sponsor in this magazine, a publication that also

conducts numerous reviews of Petzl’s products and videos, killed the article for several months,

and then when it was published finally on January 12, 2022, it had material and significant and

material alterations to it, seemingly from Petzl, which further exacerbate the material

misinformation in the marketplace about the Shunt’s inherent dangers, regardless of use.

       17.      Petzl could easily, given its influence and resources, sponsor content on the serious

safety risks associated with rope soloing while using the Petzl Shunt given its known and

widespread use amongst climbers for that purpose.

       18.      Petzl could also have been intellectually honest about the Shunt in the January 12th

article published by Climbing Magazine, recalled the product, refunded the purchase price of the

product, and expressly stated that the Shunt should not be used for top rope soloing because the

rope has been shown to detach from the device and fail upon impact with a backup, such as a

stopper knot.



                                                  5
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 6 of 42




       19.     Given Petzl’s widespread use of “sponsored content” in this magazine, its acts

holding up the publication of an article that could inform the climbing public about the hazards of

the Petzl Shunt is an intentional act that is exposing even more climbers to the risk of death or

serious bodily injury every day that goes by for its own profit.

       20.     Petzl has likely made tens of millions of dollars through its sale of the Petzl Shunt

in Colorado, the United States and around the world because of its failure to warn the climbing

community of the risks associated with a safety rope detaching from the Shunt during a fall,

specifically what the Shunt is intended to protect people from.

       21.     Petzl refuses to warn climbers, or even be honest, expressly about the life-

threatening dangers of using the Petzl Shunt or withdraw the product from the market because it

knows full well that it would cost Petzl millions of dollars per year in lost sales and lost profits.

       22.     Petzl’s conduct, as described herein, was extreme and outrageous, willful

and wanton. Defendant risked the lives of the consumers and users of their products, including

Plaintiff’s, with knowledge of the safety and use problems and suppressed this knowledge from

the general public.

       23.     In fact, Petzl continues to risk the lives of climbers in Colorado, the United States,

and around the world by having a product on the market without reasonable or adequate warnings

and without recalling it altogether with a full refund to consumers.

       24.     Defendant made conscious decisions not to redesign, recall, re-label, warn or

inform the unsuspecting consuming public for its own profit.

       25.     Defendant’s outrageous conduct warrants an award of punitive damages.



                                                  6
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 7 of 42




        26.    Petzl appears to be putting profits over people: To prevent other climbers from

suffering death and serious bodily injury and to compel Petzl to finally act, this action follows.

                                     II.     THE PARTIES

        27.    Plaintiff is a citizen and resident of the State of Colorado. Prior to the events

described herein, Craig Faulhaber was a math teacher and former Chair of the Mathematics

department at a metro-area community college.

        28.    Defendant, Petzl America, Inc., is a corporation organized under the laws of the

State of Utah, with its principal place of business located at 2929 Decker Lake Dr., West Valley

City, Utah.

        29.    Petzl America’s registered agent is Rashelle Perry who is co-located with Petzl

America at its principal place of business in Utah at 2929 Decker Lake Dr., West Valley City,

Utah.

        30.    Petzl Distribution represents that it is a limited liability company with its

headquarters at ZI Crolles, Cidex 105 A, 38920 Crolles, France.

        31.    BIG BANG Corporation, which represents to be a limited liability company with

headquarters at ZI Crolles, Cidex 105 A, 38920 Crolles, France wholly owns or controls Petzl

Distribution and Petzl America. Big Bang does business within the United States through is agent

and subsidiary Petzl America.

        32.    The Petzl trademark, which is affixed to the packaging of the Petzl Shunt which is

the subject matter of this action, is registered with the United States Patent and Trademark Office.

The Trademark is registered to Big Bang.



                                                 7
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 8 of 42




          33.     Petzl America is the primary, in fact the sole, distribution company and agent within

the United States for all products designed, manufactured, marketed and sold for Petzl Distribution

and Big Bang, which also own or control Petzl America. Each of these entities maintain a common

website at www.petzl.com and are owned and controlled as a “family business” by Paul Petzl as

their president. 2

          34.     When Faulhaber contacted Petzl America after his fall in order to alert the company

of the dangers associated with the product’s foreseeable and widely known use in the climbing

community for top rope soloing, Petzl’s Utah-based representative referred to Petzl as Petzl.

          35.     Together, Petzl America, Petzl Distribution, and Big Bang will be referred to herein

as the family owned and controlled business that it advertises around the world and within the

State of Colorado to be: “Petzl.”

                                III.    JURISDICTION AND VENUE

          36.     This case arises under the laws of the State of Colorado and the individual United

States.

          37.     This Court has jurisdiction to resolve any state law claims brought by the Plaintiff

under 28 U.S.C. § 1367 and under Colorado law pursuant to C.R.S. § 13-1-124 because Petzl

intentionally transacted business within the State of Colorado and committed, in-part, the tortious

acts described herein within Colorado which caused the injuries described herein to Plaintiff in

Colorado.




2
    https://www.petzl.com/brand/s/Family-Ownership?language=en_US

                                                     8
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 9 of 42




       38.     The Court has jurisdiction over Plaintiff’s claims based on diversity of citizenship

under 28 U.S.C. § 1332 because Plaintiff’s claims exceed $75,000, exclusive of interest and costs.

       39.     The Court has original jurisdiction over Plaintiff’s class claims under the Class

Action Fairness Act of 2005 (“CAFA”) which provides that United States district courts have

original jurisdiction over class actions in which, among other things, the matter in controversy

exceeds $5 million in sum or value under 28 U.S.C. §§1332(d)(2), (5), and provides that to

determine whether a matter exceeds that amount the “claims of the individual class members shall

be aggregated” under § 1332(d)(6).

       40.     Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391 because

the defective product was intentionally marketed and sold to Plaintiff in Colorado within interstate

commerce. Plaintiff sustained injuries caused by Defendant’s conduct which was intentionally

directed at Colorado and around the world. A substantial part of the events or omissions giving

rise to the claims occurred in Colorado.

                                IV.    CLASS ALLEGATIONS

       41.     Plaintiff sues on his own behalf and on behalf of a class of persons under Rules

23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure.

       42.     The potential class of Petzl Shunt customers is so numerous that joinder of all

members is impracticable with respect to the defective product also sold without reasonable

warnings, negligence, breaches of warranty, unjust enrichment, representations and

misrepresentations, and concealment Petzl made to consumers, members of the climbing

community, climbing publications, and social media influencers relating to the use and safety, or

lack thereof, of the Petzl Shunt.

                                                 9
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 10 of 42




         43.   There are questions of law or fact common to the class.

         44.   The aggregate class claims exceed $5 million USD.

         45.   The claims and defense of the parties are typical of the claims or defenses of the

class.

         46.   The representative parties, including the Plaintiff Craig Faulhaber, will fairly and

adequately protect the interests of the class.

         47.   Prosecuting separate actions by or against individual class members would create

a risk of inconsistent or varying adjudications with respect to individual class members that

would establish incompatible standards of conduct for the party opposing the class or would

substantially impair or impede the ability of class members to protect their interests.

         48.   The District of Colorado is a desirable forum because, including but not limited

to, it has a large number of residents and visitors engaged in climbing activities in its Rocky

Mountains using Petzl products, it is centrally located, and it is within the same Circuit Court of

Appeals as Petzl’s principal place of business in the United States, Utah, which also shares a

border with Colorado. Further, the first two known injuries sustained by climbers were both

sustained by Colorado residents at the time of their injuries.

         49.   No difficulties are likely to be encountered in the management of this class action,

including the any hypothetical bifurcation of any claims not suitable for class certification

because of disparate personal injuries which may be better suited for consolidation into a multi-

district litigation, which should also be centralized within the District of Colorado, that would

preclude its maintenance as a representative action, and no superior alternative exists for the fair

and efficient adjudication of this controversy.

                                                  10
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 11 of 42




                              V.     GENERAL ALLEGATIONS

       50.     The Petzl Shunt was designed, manufactured, marketed and sold to climbers, such

as Craig Faulhaber in Colorado, the United States and around the world to serve as a safety device

specifically intended to prevent death and serious bodily injury to the climber(s).

       51.     Paramount to any product, such as the Petzl Shunt, which is intended and

foreseeably as a safety device to prevent a climber from hitting the ground after a normal fall, the

climber’s rope should never, ever, detach from the device.

       52.     The Petzl Shunt is unsuitable for its designed, known and foreseeable use, top rope

soloing (a/k/a self-lining, top roping, and self-belay), because the rope can detach from the Shunt

during a normal fall by a climber, such as the one sustained by Craig Faulhaber, causing death or

serious bodily injury. The Shunt is defectively designed for its for its foreseeable and known uses,

including but not limited to top rope soloing.

       53.     Petzl failed to reasonably warn Plaintiff and other climbers within Colorado, within

the United States, and around the world, that a climber’s rope could detach from the Petzl Shunt

during a normal fall causing death or serious bodily injury to the user of the Shunt.

       54.     Petzl also failed to reasonably warn that the Shunt could fail and detach from a

climber’s rope upon impact with a well-known backup, such as a stopper knot.

       55.     Petzl advertises that “for 50 years, Petzl has been built around four pillars, four

fundamental values that motivate every decision we make: remaining a stable family business,

encouraging innovation to imagine the best solutions, insisting on industrial excellence with the




                                                 11
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 12 of 42




goal of zero defects, and remaining engaged with our communities by providing global best

practices.” 3

          56.     Petzl designs, manufactures, distributes, and sells outdoor products utilized by

professional and sport climbers around the world. Petzl advertises 4:




          57.     Petzl also advertises that: “We have a deep responsibility to the people who trust

us with their lives, and we develop, test, and qualify all of our products above required standards.

Our design center, based in France, integrates all crafts that are related to the creation of products:

mechanical, textile, electronic, optical, and technological. From the design and prototype phases,


3
    https://www.petzl.com/brand/s/?language=en_US
4
    https://www.petzl.com/brand/s/?language=en_US

                                                    12
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 13 of 42




the reliability of a product and the safety of the user are continuously evaluated, with particular

attention to risks of use” (emphasis in original) 5.

        58.      Petzl is one of the largest manufacturers, suppliers, promotors, and advertisers of

recreational and professional climbing gear in the United States and across the globe.

        59.      From Boulder to Ouray, to Summit County; Colorado has a large number of

climbers, an extensive and large climbing market, and is one of Petzl’s largest markets in the

United States and around the world.

        60.      As of 2018, approximately 5 million people in the U.S. participate in outdoor or

indoor climbing 6. As recently as 2017, The American Alpine Club estimates that climbing

contributed $12.45 billion to the economy, 7 and was expected to grow.

        61.      Climbing is big business in Colorado. Petzl knows this and profits from it as one of

the most well recognized and trusted manufacturers of mountaineering equipment who directly,

intentionally and continuously directs marketing, sales, and its products in interstate commerce at

climbers in Colorado.

        62.      The Petzl website indicates at least thirteen (13) Petzl “dealers” on its website in

Colorado, including Petzl “Experts” retailers, providing location and contact information for each.

        63.      Plaintiff purchased the Petzl Shunt, a/k/a Petzl Shunt Ascender, from one of Petzl’s

Experts in August 2021.




5
  https://www.petzl.com/brand/s/Industrial-Excellence?language=en_US
6
  https://smallbusiness.chron.com/rock-climbing-industry-analysis-80142.html
7
  https://sgbonline.com/study-reveals-climbings-powerful-impact/

                                                      13
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 14 of 42




       64.       The same Petzl Expert publishes on its own website linked to the Petzl Shunt a 5-

star review with text that states: “I've also used it to rope solo or take photographs…”

       65.       The same Petzl Expert advertises in another review of the Petzl Shunt, a/k/a

ascender, that it can be used for “top rope soloing.”

       66.       In yet another 5-star review of the Petzl Shunt, the Petzl Expert advertises a review

that states: “Dont (sic) be fooled by reviews from those who don’t (sic) know what they're doing;

this is a great device for top rope soloing”.

       67.       There is no doubt that Petzl knows, or at least should know, that its Shunt is being

used for top rope soloing and self-belay. In fact, the Shunt is being used almost exclusively for

top rope soloing based upon Plaintiff’s experience and observation.

       68.       There also appears to be little doubt that Petzl has failed to not only reasonably

warn consumers, but it has also failed to reasonably warn its authorized “retailers” and “experts.”

       69.       Petzl is profiting from this foreseeable and known use of the Shunt to this very day

without adequate warning to consumers, the public, and climbers throughout Colorado and the

United States.

       70.       Petzl is one of the most well-known and prolific advertisers in prominent climbing

publications, such as magazines widely read by climbers, including Craig Faulhaber in Colorado

and within the United States.

       71.       Petzl endorses prominent climbers and social influencers who market and otherwise

endorse Petzl and its products, including the Petzl Shunt, for uses beyond those which Petzl

specifically may endorse. Petzl knows this, encourages it, and profits from the practice on social



                                                  14
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 15 of 42




media platforms such as YouTube through videos which are viewed tens of thousands of times by

climbers, such as Craig Faulhaber, in Colorado, the United States, and around the world.

       72.      One such application is the use of the Petzl Shunt as a fall prevention device for top

rope soloing.

       73.      Petzl, through its headquarters in Utah, acts as the distribution center, heartbeat,

and conscious for all of North America.

       74.      In spite of Petzl’s advertisements, for many years Petzl has known about the safety

related defects to the Petzl Shunt and did nothing to recall, re-manufacture, fully remedy the design

defects related to the Shunt’s intended purpose, or reasonably warn foreseeable users about the

hazards Petzl had actual knowledge of, specifically as it relates to a climber’s rope detaching

entirely from the Shunt resulting in death or serious bodily harm.

       75.      Petzl intentionally, purposely, fraudulently, and systematically concealed the

defects and hazards related to the Shunt from Plaintiff, Government Regulatory Agencies, such as

OSHA, and the general public.

       76.      Craig Faulhaber is an experienced rock climber and has been an enthusiastic

climber since 2008.

       77.      On September 19, 2021, Craig was climbing in an area known as Haus Rock,

located between Keystone and Montezuma in Summit County, Colorado.

       78.      As an experienced climber, Plaintiff was climbing by himself or “soloing” utilizing

a top rope method. This means that Plaintiff did not have another person to belay him, instead, he

relied upon the Shunt for this purpose.



                                                 15
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 16 of 42




        79.     Belaying is when a climber’s rope runs through the protection to a

second person called the belayer. The belayer wears a harness to which they have attached

a belay device. If the climber falls, the belayer arrests the fall through a variety of techniques.

        80.     In contrast, top rope solo climbing is a form of top-roping that doesn't require a

second person to act as a belayer.

        81.     Top rope soloing generally requires the climber to self-belay and removes the need

for and participation of a climbing partner.

        82.     While top rope soloing, a climber generally attaches to his or her rope, and the

devices utilized for self-belay and fall protection, such as the Petzl Shunt at-issue in this action,

are intended to slide up with the climber as the climber ascends the rope, but never back down

which provides fall protection to the climber.

        83.     Faulhaber fell while using the Petzl Shunt approximately 30 times before the

critical failure on September 19, 2021.

        84.     However, during the critical failure on September 19, 2021, in Summit County,

Faulhaber’s rope detached from the Shunt during a fall and caused Faulhaber’s life threatening

and altering injuries that required past and future medical care.

        85.     Plaintiff was approximately 30-35 feet off the ground when he fell, and Defendant’s

product did not arrest the fall as it was intended to. As a result, Plaintiff fell to the ground and was

severely injured.

        86.     Despite Petzl’s recommendations for use, when Faulhaber fell and the Shunt failed

to prevent him for sustaining serious bodily injuries, Faulhaber was using it for its reasonably

foreseeable and known use, fall prevention during top rope soloing.

                                                  16
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 17 of 42




       87.     Further, evidencing the reasonable need for a prominent warning on the exterior of

the Shunt’s packaging materials, e.g. the Box – expressly and unambiguously warning against

self-belaying, top roping, or self-lining because the Petzl Shunt can easily detach from the

climber’s rope and cause death or serious bodily harm – at least one retailer who offers Petzl

products, including the Petzl Shunt for sale within the United States in Colorado advertises the

following warning from Petzl, which specifically permits self-belay to this day, which Petzl knows

or should know (emphasis added in advisement):




                                               17
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 18 of 42




          88.    Petzl also sponsors climbers who author stories and create videos about

successfully using the Petzl Shunt for top rope soloing and self-belay. One Petzl-sponsored

climber and author, Andy Kirkpatrick, expressly recommend the Petzl Shunt as one of the best

two devices for top rope soloing, advertising and marketing that the Shunt is the most popular self-

lining device (even though it is not recommended for self-lining), has been used for decades for

this purpose, has been recommended by Petzl for this express use in the past, has been

demonstrated to work, and stating that it can't be removed from a rope. 8 Petzl knows, or should

know this, that it is false, and to this day does not expressly and unambiguously warn climbers not

to use the Shunt for rope soloing because it can detach from the rope causing death or serious

bodily injury.

          89.    Today, Petzl continues to remain essentially silent while Andy Kirkpatrick recently

posted a video following Faulhaber’s 9/19/21 fall (and the subsequent fall by a climber in West

Virginia shortly after Faulhaber’s fall) by another rope solo expert titled: “How the Petzl Shunt

Can Kill You” by Yann Camus of BlissClimbing.com which received more than 20,000 views

since it was first uploaded very recently on December 6, 2021.

          90.    In Camus’s recent video created after the Faulhaber incident, the social media

influencer now acknowledges that he has discovered at least one way that the climber’s rope can

“easily” detach from the Shunt, which Petzl knows or should know, and that the Shunt is “very

dangerous.”




8
    https://www.andy-kirkpatrick.com/blog/view/self-lining
                                                 18
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 19 of 42




        91.      In spite of this publicly available simple video demonstration by Camus, Petzl

continues to stick its proverbial head in the sand about all of this as evidenced by the January 12,

2022 Climbing Magazine article published about Faulhaber and the West Virginia climber which

Petzl falsely manipulated for its own self-serving benefit.

        92.      Petzl continues to ignore the life-threatening product it manufactures and sells to

unsuspecting consumers such as Plaintiff. Petzl continues to fail to recall its dangerous product

when used for its foreseeable and known use, self-belay and rope soloing, and has failed to

reasonably warm consumers and members of the climbing public about the known dangers of a

climber’s rope detaching from the Shunt causing death or serious bodily injury.

        93.      Clearly, prior to Faulhaber’s injuries and public comments, climbers did not

reasonably know that using the Shunt during top rope soloing could kill a climber and this reality

rests squarely at the feet of Petzl, a family-owned company which purports to care deeply about

safety of its customers and the quality of its products, except apparently when it effects Petzl’s

profitability.

        94.      This further illustrates the reasonable need for either (1) an unambiguous and

express boxed warning on the exterior of the Shunt’s packaging that the device should not be used

for self-belay, tope roping, self-lining, etc., because the rope can detach from the Shunt during a

routine fall and cause death or serious bodily injury to the climber, or preferably (2) to prominently

and publicly recall the product from the market as an inherently dangerous product given its known

and foreseeable use by climbers.

        95.      Ambiguous misinformation which economically benefits Petzl is causing climbers

around the world, the United States, and in Colorado to be subject to a known, foreseeable, and

                                                 19
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 20 of 42




unreasonable risk of death or serious bodily injury from the Petzl Shunt. As one public comment

suggests: Climbers are falling from the sky.

        96.     To this day even Petzl’s current recommendation for self-belying is unreasonable

and a material misrepresentation given the experience and knowledge of the expected and

foreseeable user of its products, especially when compared to the catastrophic and foreseeable risk

of the rope detaching from the Shunt if it becomes inverted or impacts a stopper knot.

        97.     For example, buried deep on its website – and not on the package or in the materials

contained within the Shunt’s package – and in a relatively new use for the Shunt as a “rappel

backup device” (an overly complicated and unlikely use for the product) is a statement that the

Shunt is not recommended for self-belaying only because:

                The probability of experiencing these malfunctions is very low, but not
                negligible, and it only takes once...

                Greater danger on sloping terrain where pressure against the device can
                impede locking. The device will not lock if the user grabs the device during
                a fall. This device is not suitable for self-belaying. 9

        98.     However, in spite of this, Petzl knows full well that the Shunt is being used

extensively for self-belay and rope soloing, the use that is not only foreseeable, but is also the use

it was designed for.

        99.     Further, it is more likely than not that other climbers, before and after Faulhaber’s

fall, have been injured and killed by Petzl’s failure to reasonable warn and its failure to recall the

Petzl Shunt from the marketplace, including Colorado who are similarly situated and do not know




9
 https://www.petzl.com/US/en/Sport/Appendix-1--Petzl-does-not-recommend-using-only-one-ascender-for-self-
belaying-?ActivityName=Rock-climbing

                                                    20
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 21 of 42




about the cause of their falls because of the fraud and concealment of the known risks of using the

Shunt being perpetrated on the climbing community by Petzl.

         100.   Similarly, Petzl also fails to reasonably warn climbers, such as Plaintiff, about the

effect which rope size could have on the operation of the Shunt as it relates to the potential for the

rope to entirely detach from the device. Consequently, rope common rope sizes are routinely used

on the Petzl Shunt by unwitting climbers to the catastrophic result that follows the Shunt detaching

from a climber’s safety rope.

         101.   Petzl profited from this use, and continues to do so, despite its ambiguous

recommendations for use and other warnings that were not reasonable given the known, intended,

and foreseeable use of the device.

         102.   The Shunt failed to prevent Faulhaber’s fall because the rope detached from the

device during a routine fall through a designed and manufactured gap/slots in the device seen

below:




         103.   During Faulhaber’s fall, it is likely that the climber’s rope snagged in the top of the

Shunt, tilted sideways or inverted (e.g. a “Scorpion Catch”), and the rope ripped through the

                                                  21
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 22 of 42




intentionally manufactured gap/slot at the end of the red arrow above. Most likely, the Shunt tilted

sideways and then snagged during the fall, where a relatively light load is sufficient to compress

the diameter reasonable and commonly used climbing ropes, such as Plaintiff’s, and force it

through the gap/slot depicted above. Then, the climber falls to the ground foreseeably sustaining

serious bodily injuries or death.

        104.    When the device and the rope which Faulhaber used on September 19, 2021, were

recovered by Summit County Mountain Rescue, neither the rope nor the Shunt were damaged, the

Shunt was attached to Faulhaber, but the rope was not. This indicates that the rope detached from

the Shunt which was intended to prevent falls such as the one sustained by Craig Faulhaber.

        105.    After the fall, Craig tried to get up, but another climber stopped Craig from moving

and held him in his lap for 45 minutes to keep him alert until medical rescue arrived. Faulhaber

remembers the feelings and sound of hitting the ground with high velocity and seeing his own

blood pooled on the ground.

        106.    This was by any reasonable account a near death experience.

        107.    Multiple witnesses to the fall immediately called emergency services and the

Summit County Rescue Group responded to the call 10. After the fall, one of the witnesses

commented that “his rope was still hanging there, and it was straight vertical” showing that

Defendant’s product had completely detached from the rope. No such warning of this type of event

was detailed in any of the warnings provided with Defendant’s product.




10
  https://www.summitdaily.com/news/crime/summit-county-rescue-group-saves-climber-who-fell-30-feet-near-
montezuma/

                                                    22
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 23 of 42




        108.   After being evaluated by the Summit County Rescue Group and deemed to be in

critical condition, the Summit County Rescue Group performed a “scree evacuation” to get

Faulhaber to a position where he could be safely transported off the mountain by ambulance.

        109.   Once Plaintiff was stable as possible, securely and safely off the mountain, he was

driven by ambulance to the Keystone Medical Center where he was then life flighted to St.

Anthony’s Trauma Center in Lakewood, Colorado.

        110.   As a result of the fall, Plaintiff fractured approximately 12 bones including the L1

and L2 vertebrae in his back, both heels, his pelvis, knee, right elbow, sacrum, and ribs. As of

today, it is anticipated by his medical team that Craig Faulhaber will need to spend months

confined to a wheelchair and unable to live freely outside of an ADA accessible hotel room.

        111.   After falling off the mountain following the failure of the Shunt, Craig Faulhaber

had extensive medical interventions after a flight for life to St Anthony’s Medical Center in Denver

resultant from breaking both heels, feet, right knee, two vertebrae, pelvis, right elbow, and multiple

ribs.

        112.   On September 21, 2021, Plaintiff underwent surgical intervention to his pelvis

caused by the failure of the Petzl Shunt.

        113.   Plaintiff was thereafter transferred to Swedish Hospital for impatient Physical and

Occupational Therapy, which was often painful, where he remained hospitalized until October 6,

2021.

        114.   Unable to return to his residence, Plaintiff was forced to move into an ADA

accessible hotel room because he was confined to a wheelchair for mobility, and where he resided

until December 18, 2021, as a direct and proximate result of his injuries and lack of mobility.

                                                 23
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 24 of 42




       115.    Plaintiff is reasonably expected to have long term and accelerated degenerative

arthritis which may require premature joint replacement to his hips, ankles, and knees, together

with the loss of enjoyment of life, past and future medical expenses, permanent impairment,

scarring, mental and physical suffering and loss of wages and earning potential.

       116.    As a result of this life-threatening event, Plaintiff is also unfortunately at an

increased risk of adverse psychological, emotional and mental pain and suffering, which may

include PTSD, anxiety, or depression.

       117.    Today, Craig continues to struggle with basic life functions, like walking without a

walker or using a wheelchair, even though he has willed himself back onto the climbing wall inside

of a gym. Faulhaber remains unable to journey to the mountains he loves because he does not

have sufficient mobility to safely hike un-even terrain.

       118.    Despite Petzl’s knowledge and express or implied endorsement for use, there are

no warnings of falling, rope detachment, death or serious bodily injury when using the Petzl Shunt

while top rope soloing, self-belaying, or self-lining on the Petzl Shunt’s box or in the materials

provided with the Shunt inside the box.

       119.    At the time Craig Faulhaber’s injuries, there was no warnings on the Petzl

controlled and operated website or marketing materials, let alone on the Shunt’s packaging or in

the package, relating to this known defect and danger, i.e., the climber’s rope detaching from the

Shunt causing death or serious bodily injury.

       120.    On several rock-climbing websites, blogs, and information cites, the method of solo

top roping utilized by Plaintiff was shown to be a very common, if not the most common, way of

solo top roping in the experienced rock-climbing community.

                                                24
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 25 of 42




        121.     For example, Petzl knows, or should know, that a popular social media and

climbing-influencer and professional climber Dave MacLeod published a YouTube video at

https://youtu.be/kd13IaWS8gQ?t=782 and on other platforms such as epictv.com and his own blog

with approaching 300,000 views showing climbers how to top rope solo using the Petzl Shunt

which Petzl undoubtedly profits from banner ads and pop-up advertisements.

        122.     One review of MacLeod’s article on the use of the Petzl Shunt while top roping

“was enough to make me want to immediateley (sic) order one 11.” Petzl knows and profits from

this. Climbing forums also to this day share how to use the Petzl Shunt for self-belay on a top rope

using Petzl’s own materials further illustrating the need for warnings on the packaging or a total

recall/refund of the inherently defective product which was designed for self-belaying: 12




11
  https://www.mountainproject.com/forum/topic/106638387/best-solo-tr-device
12
  https://www.mountainproject.com/forum/topic/106044879/modifying-your-gri-gri?page=2 (“One of my route-
setting partners uses a Petzl Shunt to solo self-belay on a toprope. He attaches the Shunt to his harness with a
locking carabiner and uses a weighted toprope. The system seems to work very well for him, even on hard, steep
routes. There are some caveats about doing this in Petzl's instructions for use”)

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Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 26 of 42




       123.    In Faulhaber’s phone call to Petzl after his fall, Plaintiff made Petzl aware, to the

extent that it was not already, that the use of the Shunt was a very popular set up for top rope

soloing advising Petzl that the climbing community did not appear to know that a climber’s rope

could detach from the Sunt causing a serious fall.

       124.    Since Craig Faulhaber’s and the West Virginia climber’s injuries this professional

climber and social media influencer has removed his very popular video.

       125.    A screen shot of this video – perhaps the most viewed top rope solo video of all

time – before it was taken down follows:




                                                26
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 27 of 42




          126.   There are numerous other publicly available forums which Petzl knows or should

know about which discuss the use of the Petzl Shunt for self-belay and rope soloing. 13,14

          127.   The most prominent use for the Petzl Shunt around the world is as a safety and fall

prevention device during top rope soloing. Petzl knows or should know this and it is at least

foreseeable.

          128.   In-fact, there is no doubt that Petzl knows about the climbing public’s use of its

Shunt for top rope soloing and fall protection and that Petzl has made millions of dollars as a direct

result.

          129.   Despite this, Petzl failed to recall the product, failed to re-manufacture it so that the

climber’s rope cannot separate from the device by increasing the gauge thickness of the metal or

decreasing the size of the machined gaps/slots, or adding a latch to make the Shunt a closed system,

and failed to reasonably warn consumers such as Craig Faulhaber about the risks associated with

the rope “easily” detaching from the Shunt and that it was “very dangerous” when used for self-

belay or rope soloing, and failed to be transparent and fully honest in the recent Climbing Magazine

article published in Colorado and around the U.S. on January 12, 2022.

          130.   In fact, the opposite is true insofar as Petzl knew or should have known that the real

risk of using the Shunt while rope soloing is not that it can “jam” in overhang situations, but rather

that the rope can detach from the device and kill or seriously injury the user.




13
     https://www.mountainproject.com/forum/topic/106638387/best-solo-tr-device
14
     https://www.ukhillwalking.com/forums/gear/self_belay_-_is_the_shunt_still_king-727297

                                                   27
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 28 of 42




        131.     Petzl failed to issue a product recall, failed to re-manufacture the device, and failed

to place a prominent and easy to understand warning on the packaging all in an effort to increase

its profits from the risks which skilled, yet unknowing, climbers such as Craig Faulhaber took

using the Shunt.

        132.     Petzl has failed to recall the Shunt or place a prominent warning on the outside

packaging of the device because it knows that such action will cause Petzl to sustain significant

financial losses insofar as it knows climbers, such as Craig Faulhaber, would not buy nor use the

device at all.

        133.     Since Faulhaber’s fall and injuries, Petzl released on social media, including

Instagram and Facebook on December 20, 2021, that the fall resulted from the rope reportedly

detaching from the Shunt. Despite this, Petzl continues to fail to recall the device and continues

to fail to include on the exterior of the packaging a reasonable and prominent warning that a

climber’s rope can detach from the Shunt during self-belay or top rope soloing during a fall which

can cause death or serious bodily injury.

        134.     Prior to this social media post, Petzl has never warned consumers and climbers such

as Faulhaber in any reasonable manner that a climber’s rope can detach from the device through a

gap/slot in the Shunt during a normal fall causing death or serious bodily injury. This is

particularly important because the Shunt was at least once expressly approved for self-belay by

Petzl, even though it opaquely warns against the practice without specific or reasonable reference

to the climber’s rope detaching and separating from the Shunt during a fall resulting in death or

serious bodily injury, which is the foreseeable risk that Petzl knows about.



                                                   28
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 29 of 42




           135.    For example, to this day on the Petzl website’s FAQ’s, one question asks: “Can I

use the SHUNT to self belay?”                 Petzl’s answer 15 is anything but reasonable under the

circumstances – “No, the SHUNT is not authorized for self-belaying, for many reasons, including

but not limited to, the risk of the cam jamming in an overhang situation.”

           136.    First, this is important because (i) a “jam” in an overhang situation and (ii) a rope

detaching and separating from the device are inapposite to each other in terms of risk to the

climber, with the later having the obvious potential to cause death or serious bodily harm while

the former is generally a minor inconvenience to a climber.

           137.    Second, this FAQ response unreasonably ignores the numerous videos and

publications, some of which are endorsed and sponsored by Petzl, which describe how to use the

Petzl Shunt for self-belay, top rope soling, and self-lining.

           138.    Reacting to a forum thread about Faulhaber’s experience with the Petzl Shunt and

illustrating the inadequacies of Petzl’s warning about the Shunt, a device designed and once

approved expressly for top rope solo and self-belay, one Colorado climber posted on a public

climbing forum on December 11, 2021, a truth revealing meme which shows not only the

unreasonableness of the warning, but also the outrageousness of Petzl’s purported warning about

the possibility of a cam jamming in an overhang:




15
     https://www.petzl.com/US/en/Sport/FAQ/can-i-use-the-shunt-to-self-belay

                                                        29
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 30 of 42




       139.    Petzl is clearly profiting from its ambiguous misinformation about the risks

associated with using the Petzl Shunt for its foreseeable and known actual use, top rope soloing.

       140.    This failure to reasonable warn, or altogether recall the product from the market, is

intentional and results in significant profit to Petzl at the expense of climbers such as Craig

Faulhaber.

       141.    For example, after Faulhaber’s injuries he contacted Petzl directly and notified

them of the events and his injuries. Petzl admits this in its December 20, 2021, social media posts.




                                                30
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 31 of 42




       142.    However, rather than taking prompt action to reasonably warn the climbing

community, or recall the product, Petzl did little if anything beyond delaying the publication of

the January 12th Climbing Magazine article and then manipulating it with opaque partial truth.

       143.    To this day Petzl continues to fail to reasonably warn on and in its packaging, on

its website, in its technical publications, and on social media also allowing an inherently dangerous

product to remain on the shelves of retailers, and in e-commerce everywhere, including Colorado.

                                  FIRST CLAIM FOR RELIEF
                                    (Strict Product Liability)

       144.    Plaintiff incorporates by reference all paragraphs as if fully set forth herein.

       145.    Petzl is and at all pertinent times was the manufacturer and seller of the Petzl Shunt

as defined by C.R.S. §§ 13-21-401, et seq.

       146.    Petzl was engaged in the business of manufacturing and selling of the subject Petzl

Shunt in interstate commerce, Colorado, and around the world.

       147.    The Petzl shunt was defective and unreasonably dangerous to persons such as the

Plaintiff who might reasonably be expected to be affected by the Petzl Shunt because the safety

rope can detach from the Shunt which is intended as a fall prevention safety device through a

gap/slot designed and intentionally manufactured into the device.

       148.    The Petzl Shunt was expected to reach the users without substantial change in the

condition in which it was sold.

       149.    Plaintiff was a person who could reasonably be expected to use and be affected by

the subject Petzl Shunt.




                                                 31
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 32 of 42




       150.     The defective condition of the Petzl Shunt was a cause of the injuries, damages,

and losses sustained by the Plaintiff in amount to be proven at trial.

                                SECOND CLAIM FOR RELIEF
                                 (Failure to Reasonably Warn)

       151.     Plaintiff incorporates by reference all paragraphs as if fully set forth herein.

       152.     Defendants had a duty to warn Plaintiff and other similarly situated, foreseeable,

 and expected users of the Petzl Shunt of the serious injuries that could be sustained through the

 common use of the Shunt resultant from the safety rope detaching from the device under relatively

 small loads.

       153.     Petzl knew, or in the exercise or reasonable care should have known, about the risk

 of serious bodily injury and death, including permanently disabling and life-threatening injuries

 that could arise through the common, known, expected and foreseeable use of its Shunt.

       154.     Petzl failed to provide warnings or instructions that a manufacturer and seller

 exercising reasonable care would have provided concerning the risk, or potential risk, of serious

 injury that could arise through the common, known, and foreseeable use of thee Shunt.

       155.     A manufacturer and seller exercising reasonable care would have updated its

 warnings on the basis of reports of injuries and the plethora of information showing that their

 product was being used in a manner that could result in serious injury and which was foreseeable

 or actually known to Petzl.

       156.     The warnings that were given by Petzl failed to reasonably warn known,

 foreseeable, and expected users and climbers of the known risks associated with the use of the

 Petzl Shunt in its commonly used, known, and anticipated method.


                                                  32
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 33 of 42




           157.   Petzl has a continuing duty, which has been breached, to warn Plaintiff and others

 using their products of the dangers associated with the common and foreseeable and expected use

 of their products.

           158.   The Plaintiff’s injuries were the direct and proximate result of Petzl’s failure to

 warn of the dangers of using the Petzl Shunt in the commonly and foreseeably used method.

           159.   Petzl’s failures to reasonably warn are material insofar as neither Plaintiff, nor those

 similarly situated, would have rationally used the Petzl Shunt had Defendant issued reasonable

 and timely warnings that the safety rope could detach from the Shunt under relatively small loads,

 i.e., a few kilograms, and that a stopper knot could also cause the Shunt to open and release the

 safety rope.

           160.   The Petzl Shunt lacked sufficient warnings of the potential risks associated with the

 foreseeable or known use of the product.

           161.   Petzl knew the risks directly associated with the design defects and ignored them.

 Moreover, Petzl provided incomplete and deceptive warnings about the product which were

 largely inconsequential given the risk of death and serious bodily harm from the use of the product

 which Petzl knew and could reasonably foresee.

           162.   Petzl failed to reasonably warn Plaintiff, and others similarly situated, for its own

 profit.

           163.   Petzl’s failure to reasonably warn Plaintiff of the risks associated with using the

Shunt for its known or foreseeable use is the cause of the injuries, damages, and losses sustained

by the Plaintiff in amount to be proven at trial.

                                    THIRD CLAIM FOR RELIEF

                                                    33
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 34 of 42




                                            (Negligence)

       164.    Plaintiff incorporates by reference all paragraphs as if fully set forth herein.

       165.    Petzl designed, manufactured, marketed, distributed, and sold the Petzl Shunt in

Colorado, the Untied States in interstate commerce, and around the world.

       166.    Petzl was negligent by failing to exercise reasonable care to prevent the Petzl Shunt

from creating an unreasonable risk of harm to the persons, such as Craig Faulhaber, who might

reasonably be expected to use the Petzl Shunt while it was being used in the manner the Defendant

might have at least reasonably expected.

       167.    Craig Faulhaber, and others similarly situated, is one of those persons the

Defendant should reasonably have expected to use the Petzl Shunt.

       168.    Defendants had also a duty to consumers, such as the Plaintiff, to sell products

which are safe for their intended, foreseeable, and expected use and to ensure that they were

reasonably warned about known risks associated from foreseeable or known use of the Petzl Shunt.

       169.    Petzl breached its duty by selling the Petzl Shunt because it is unsafe when used for

its intended or foreseeable use and when it failed to provide a reasonable warning to Plaintiff and

others similarly situated of the known risks associated with the rope separating from the Shunt

under relatively light loads and cause death or serious bodily injuries when used in the manner it

was, and is, commonly and foreseeably used within the rock climbing community.

       170.    Petzl also failed to recall the Shunt after it knew or should have known that the

Petzl Shunt was being used extensively for top rope soloing, and profiting from the use by climbers

such as Plaintiff, which has caused at least one other climber to suffer life threatening injuries, and

likely many others.

                                                  34
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 35 of 42




       171.    Petzl breached its duties when it failed to recall the Petzl Shunt and when it failed

to place a prominent warning on the packaging that the product’s use during top rope soloing could

result in the rope easily detaching from the Shunt during a fall and cause death or serious bodily

injury under relatively light loads.

       172.    As a direct result of Petzl’s negligence, Plaintiff sustained physical injuries and

damages in an amount to be proven at trial.

                                FOURTH CLAIM FOR RELIEF
                                 (Negligent Misrepresentation)

       173.    Plaintiff incorporates by reference all paragraphs as if fully set forth herein.

       174.    Defendant, as a part of it business, sold the Petzl Shunt in Colorado, interstate

commerce, and around the world.

       175.    As a part of its business, Petzl had a duty to communicate truthful, accurate, and

complete safety information to foreseeable and intended users of its Shunt, such as Plaintiff and

other similarly situated.

       176.    Petzl breached its duties when it negligently provided incomplete and inaccurate

material information about the use of its Petzl Shunt to Plaintiff and when Petzl misrepresented

the safety, use, and risks associated with its Shunt.

       177.    This incomplete and inaccurate information created an untrue or mistaken

impression in the mind of Plaintiff about the character, quality, and safety of the Petzl Shunt, all

of which would be important to a purchaser or user of the Shunt in determining his or her course

of action.




                                                 35
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 36 of 42




            178.   Defendant also misrepresented the Shunt by failing to disclose that a climber’s

safety rope, such as the one used and purchased by Plaintiff, could easily detach from the Shunt

under relatively light loads and that the Shunt could open and release the safety rope upon impact

with a stopper knot.

            179.   Plaintiff is a person who would reasonably be expected to use the Petzl Shunt.

            180.   Plaintiff, and the climbing public, reasonably relied upon these, and other

representations made by Petzl and its agents and product endorsers who also reasonably relied on

Petzl’s misrepresentations which caused Plaintiff’s injuries and damages in an amount to be proven

at trial.

                                     FIFTH CLAIM FOR RELIEF
                                       (Fraudulent Concealment)

            181.   Plaintiff incorporates by reference all paragraphs as if fully set forth herein.

            182.   Petzl concealed material facts which it knew relating to the use of the Petzl Shunt

for top rope soloing and self-belay and the associated risk of the safety rope detaching or separating

from the Shunt under relatively light loads or upon impact with a stopper knot which should in

equity or good faith be disclosed.

            183.   Petzl has actual knowledge that these facts are being concealed.

            184.   At the time of his injuries, Plaintiff and others similarly situated was ignorant of

these facts being concealed by Petzl.

            185.   Petzl intended the concealment to be acted upon by consumers such as Plaintiff

engaged in a known use of the Petzl Shunt.




                                                     36
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 37 of 42




       186.    Petzl’s fraudulent concealment caused Plaintiff and others similarly situated to

sustain damages in an amount to be proven at trial.

                               SIXTH CLAIM FOR RELIEF
              (Unfair or Deceptive Tarde Practice - Consumer Protection Laws)

       187.    Plaintiff incorporates by reference all paragraphs as if fully set forth herein.

       188.    Petzl used unfair methods of competition or deceptive acts or practices that were

prohibited by law.

       189.    Petzl violated consumer protection laws through its use of false and misleading

misrepresentations or omissions of material fact relating to the safety and use of the Petzl Shunt.

       190.    Petzl communicated the purported benefits and uses of the Shunt while failing

to disclose the serious and dangerous deficiencies with its design, specifically as it relates to

the detachment of the safety rope from the Shunt for a variety of reasons and under relatively

light loads, to consumers, the climbing industry, social media influencers, and climbing

publications. Petzl made these representations to such persons, including Plaintiff, in the

marketing and advertising described herein.

       191.    Petzl’s conduct in connection with the Shunt was also impermissible and

illegal in that it created a likelihood of confusion and misunderstanding, because Defendants

misleadingly, falsely and or deceptively misrepresented and omitted numerous material facts

regarding, among other things, the utility, benefits, safety, and advantages of the Petzl Shunt.

       192.    Petzl falsely and recklessly, expressly and impliedly, represented that its Petzl

Shunt could be safely used for the known and intended purpose of the device, which is fall




                                                 37
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 38 of 42




protection from death or serious bodily harm to foreseeable users of the device, such as Craig

Faulhaber.

       193.    Petzl publicly and widely disseminated print media, electronic media, and made

other representations through product endorsers and social media influencers to prospective and

actual consumers of its products, as well as to the general public, misrepresented the quality,

standard, and grade of its products that Petzl knew was dangerous and unsafe for the Shunt’s

intended, known, and foreseeable use.

       194.    Petzl also advertises the Petzl Shunt for a use separate and apart from the use that

it knows or should know consumers such as Plaintiff actually use the Shunt for, specifically top

rope soloing, self-belay, self-lining, and as an ascender.

       195.    These misrepresentations were made expressly as a deceptive lure and

inducement to members of the public, including Plaintiff, to enter a business transaction with

Petzl to induce members of the public and Plaintiff to purchase and use Petzl’s products,

including the Petzl Shunt.

       196.    The deceptive trade practices perpetrated by Petzl during times relevant to this

Complaint directly involved the general public and significantly impacted the public as actual or

potential customers of Petzl’s products, including the Plaintiff Craig Faulhaber, numerous other

customers within Colorado, the United States and around the world as consumers of Petzl’s

products, including the Petzl Shunt.

       197.    Petzl failed to disclose known deficiencies in safety to actual and potential

customers of its products, including the Petzl Shunt.



                                                 38
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 39 of 42




       198.    Petzl’s negligent or false representations or concealment made through their

agents and/or employees, including but not limited to, the representations described herein

constitute deceptive trade practices as defined by state law, including C.R.S. 6-1-105 (e) and (g),

which the latter subsection provision permits this deceptive trade practice claim for all actual

damages sustained and for treble damages under section 6-1-113 against a defendant who in the

course of a business, vocation and occupation represents that goods, foods, services, or property

are of a particular standard quality or grade, or that goods are of a particular style of model, if he

know or should know that they are of another.

       199.    Petzl acquired substantial money as a result of engaging in the above-described

deceptive trade practices from Plaintiff and other customers of its product(s).

       200.    As a result of these violations of consumer protection laws, Plaintiffs,

named and yet to be named, have incurred and will incur; serious physical injury (including in

some cases death), pain, suffering, loss of income, loss of opportunity, loss of family and social

relationships, and medical, hospital and surgical expenses and other expense related to the

diagnosis and treatment thereof, for which Petzl is liable.

       201.    As a direct and proximate result of Petzl’s deceptive trade practices, Plaintiff has

incurred expenses and damages which will be proven at trial.

       202.    Pursuant to statute, Plaintiff is entitled to all actual damages and attorney’s fees

under the CCPA.

       203.    Pursuant to statute, Plaintiff is entitled to an amount equal to three times the amount

of actual damages sustained to redress Petzl’s post sales bad faith conduct as defined by state



                                                  39
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 40 of 42




consumer protection laws to include fraudulent, willful, knowing, or intentional conduct that

caused injury.

                                 SEVENTH CLAIM FOR RELIEF
                                     (Unjust Enrichment)

       204.      Plaintiff incorporates by reference all paragraphs as if fully set forth herein.

       205.      At Plaintiff’s expense, and those similarly situated, Petzl received a benefit under

circumstances that would make it unjust for Defendant to retain the benefit without repaying the

purchase price paid for the Petzl Shunt for all Petzl Shunts sold in Colorado and in interstate

commerce within the Untied States.

                                  EIGHTH CLAIM FOR RELIEF
                                   (Breach of Implied Warranty)

       206.      Plaintiff incorporates by reference all paragraphs as if fully set forth herein.

       207.      Defendant sold the Petzl Shunt.

       208.      Craig Faulhaber is a person who was reasonably expected to use or be affected by

the Shunt.

       209.      The Defendant was a merchant with respect to the type of product involved.

       210.      The Petzl Shunt was not of merchantable quality at the time of sale for its known,

expected, or foreseeable use.

       211.      For example, at the time Petzl marketed, distributed and sold its Shunt to Plaintiff,

Defendant warranted that it was merchantable and fit for the ordinary and foreseeable purposes for

which it was intended.

       212.      Members of the consuming public, including consumers such as Plaintiff, were

intended beneficiaries of the warranty.

                                                   40
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 41 of 42




         213.   The Petzl Shunt was not merchantable and fit for its ordinary and foreseeable

purpose because it has a propensity to allow the safety rope to detach from the Shunt, itself a fall

prevention device, under relatively light loads and upon impact with a common stopper knot which

led to the serious personal injuries described herein.

         214.   Plaintiff reasonably relied on Defendant’s representations that the Shunt was safe

and free of defects and was otherwise a safe means of reducing the risk of fall, death, and serious

bodily injury while using a safety rope and climbing.

         215.   Petzl’s breach of the implied warranty of merchantability and fitness was the direct

and proximate cause of Plaintiff’s injury (including in some cases death) and damages in an

amount to be proven at trial.

                                  NINTH CLAIM FOR RELIEF
                                  (Breach of Express Warranty)

         216.   Plaintiff incorporates by reference all paragraphs as if fully set forth herein.

         217.   Defendant sold the Petzl Shunt.

         218.   Petzl expressly warranted the Petzl Shunt to be guaranteed on its packaging for 3-

years.

         219.   The Petzl Shut was designed for self-belay and top rope soloing.

         220.   Craig Faulhaber is a person who was reasonably expected to use or be affected by

the Shunt.

         221.   The Petzl Shunt was not as warranted.

         222.   Within a reasonable time after the Plaintiff discovered or should have discovered

the alleged breach of warranty, the Plaintiff notified the Defendant of such breach.


                                                  41
Case 1:22-cv-00102-SKC Document 1 Filed 01/14/22 USDC Colorado Page 42 of 42




       223.    The Defendant’s breach of warranty caused the Plaintiff to sustain injuries,

damages, and losses as alleged herein and as will be proven at trial.

              Plaintiff demands a jury trial on all claims and defenses so triable.

                                    PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff, on behalf of himself and those similarly situated,

respectfully requests that the Court enter judgment in his favor, for actual and compensatory

damages, including damages for permanent impairment, scarring, pain and suffering, mental and

emotional suffering, past and future medical expenses, loss of enjoyment of life and earnings and

earning capability, and for leave to assert a claim for punitive and exemplary damages, and all

damages in law or in equity, for attorney fees and costs pursuant to statute and law, treble

damages pursuant to statute and law, together with pre-judgment and post-judgment interest, and

for such other relief as the Court deems just and proper.

       Dated: January 8, 2022
                                                     Respectfully submitted,

                                                     MCLEOD │BRUNGER PLLC

                                                     /s/ Scott D. McLeod
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                                                42
